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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

JESSICA BLINKHORN,                     )
                                       )
      Plaintiff,                       )
                                       )       CIVIL ACTION
v.                                     )
                                       )       FILE No. _____________________
SIRENA TIERRA, LLC,                    )
                                       )
      Defendant.                       )

                                   COMPLAINT

      COMES NOW, JESSICA BLINKHORN, by and through the undersigned

counsel, and files this, her Complaint against Defendant SIRENA TIERRA, LLC

pursuant to the Americans with Disabilities Act, 42 U.S.C. § 12181 et seq.

(“ADA”) and the ADA’s Accessibility Guidelines, 28 C.F.R. Part 36 (“ADAAG”).

In support thereof, Plaintiff respectfully shows this Court as follows:

                         JURISDICTION AND VENUE

      1.     This Court has original jurisdiction over the action pursuant to 28

U.S.C. §§ 1331 and 1343 for Plaintiff’s claims pursuant to 42 U.S.C. § 12181 et

seq., based upon Defendant’s failure to remove physical barriers to access and

violations of Title III of the ADA.

      2.     Venue is proper in the federal District Court for the Northern District


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of Georgia, Atlanta Division.

                                     PARTIES

       3.     Plaintiff JESSICA BLINKHORN (hereinafter “Plaintiff”) is, and has

been at all times relevant to the instant matter, a natural person residing in Atlanta,

Georgia (Fulton County).

       4.     Plaintiff suffers from Spinal Muscular Atrophy and is disabled as

defined by the ADA.

       5.     Plaintiff is required to traverse in a wheelchair and is substantially

limited in performing one or more major life activities, including but not limited

to: walking, standing, grabbing, grasping and pinching.

       6.     Plaintiff cannot walk and uses a wheelchair for mobility purposes.

       7.     Defendant SIRENA TIERRA, LLC (hereinafter “Defendant”) is a

Georgia limited liability company, and transacts business in the state of Georgia

and within this judicial district.

       8.     Defendant may be properly served with process via its registered

agent for service, to wit: Jarina Naone, 939 Ponce de Leon Avenue, Atlanta,

Georgia, 30306.

                            FACTUAL ALLEGATIONS

       9.     On multiple occasions, including, but not limited to, July 30, 2020 and


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February 3, 2022, Plaintiff was a customer at “El Ponce,” a business located at 939

Ponce de Leon Avenue, N.E., Atlanta, Georgia 30306.

      10.    Defendant is the owner (or co-owner) of the real property and

improvements that are the subject of this action. (The structures and improvements

situated upon said real property shall be referenced herein as the “Facility,” and

said real property shall be referenced herein as the “Property”).

      11.    Plaintiff lives approximately three (3) miles from the Facility and

Property.

      12.    Plaintiff’s access to the business located at 939 Ponce de Leon

Avenue, N.E., Atlanta, Georgia 30306 (Fulton County Property Appraiser’s parcel

number 14 001600110919), and/or full and equal enjoyment of the goods, services,

foods, drinks, facilities, privileges, advantages and/or accommodations offered

therein were denied and/or limited because of her disabilities, and she will be

denied and/or limited in the future unless and until Defendant is compelled to

remove the physical barriers to access and correct the ADA violations that exist at

the Facility and Property, including those set forth in this Complaint.

      13.    Plaintiff has visited the Facility and Property at least once before and

intends on revisiting the Facility and Property once the Facility and Property are

made accessible.


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      14.    Plaintiff intends to revisit the Facility and Property to purchase goods

and/or services.

      15.    Plaintiff travelled to the Facility and Property as a customer and as an

advocate for the disabled, encountered the barriers to her access of the Facility and

Property that are detailed in this Complaint, engaged those barriers, suffered legal

harm and legal injury, and will continue to suffer such harm and injury as a result

of the illegal barriers to access present at the Facility and Property.

                               COUNT I
                   VIOLATIONS OF THE ADA AND ADAAG

      16.    On July 26, 1990, Congress enacted the Americans with Disabilities

Act 42 U.S.C. § 12101 et seq. (the “ADA”).

      17.     The ADA provided places of public accommodation one and a half

years from its enactment to implement its requirements.

      18.    The effective date of Title III of the ADA was January 26, 1992 (or

January 26, 1993 (if a defendant has 10 or fewer employees and gross receipts of

$500,000 or less). 42 U.S.C. § 12181; 28 C.F.R. § 36.508(a).

      19.    The Facility is a public accommodation and service establishment.

      20.    The Property is a public accommodation and service establishment.

      21.    Pursuant to the mandates of 42 U.S.C. § 12134(a), on July 26, 1991,

the Department of Justice and Office of Attorney General promulgated federal

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regulations to implement the requirements of the ADA. 28 C.F.R. Part 36.

      22.    Public accommodations were required to conform to these regulations

by January 26, 1992 (or by January 26, 1993, if a defendant has 10 or fewer

employees and gross receipts of $500,000 or less). 42 U.S.C. § 12181 et seq.; 28

C.F.R. § 36.508(a).

      23.    Liability for violations under Title III or the ADA falls on “any person

who owns, leases (or leases to), or operates a place of public accommodation.” 42

U.S.C. § 12182(a).

      24.    The Facility must be, but is not, in compliance with the ADA and

ADAAG.

      25.    The Property must be, but is not, in compliance with the ADA and

ADAAG.

      26.     Plaintiff has attempted to, and has to the extent possible, accessed the

Facility and the Property in her capacity as a customer of the Facility and Property,

and as an advocate for the disabled, but could not fully do so because of her

disabilities resulting from the physical barriers to access, dangerous conditions and

ADA violations that exist at the Facility and Property that preclude and/or limit her

access to the Facility and Property and/or the goods, services, facilities, privileges,

advantages and/or accommodations offered therein, including those barriers,


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conditions and ADA violations more specifically set forth in this Complaint.

      27.    Plaintiff intends to visit the Facility and Property again in the very

near future as a customer and as an advocate for the disabled in order to utilize all

of the goods, services, facilities, privileges, advantages and/or accommodations

commonly offered at the Facility and Property, but will be unable to fully do so

because of her disability and the physical barriers to access, dangerous conditions

and ADA violations that exist at the Facility and Property that preclude and/or

limit her access to the Facility and Property and/or the goods, services, facilities,

privileges, advantages and/or accommodations offered therein, including those

barriers, conditions and ADA violations more specifically set forth in this

Complaint.

      28.    Defendant has discriminated against Plaintiff (and others with

disabilities) by denying her access to, and full and equal enjoyment of the goods,

services, facilities, privileges, advantages and/or accommodations of the Facility

and Property, as prohibited by, and by failing to remove architectural barriers as

required by, 42 U.S.C. § 12182(b)(2)(A)(iv).

      29.    Defendant will continue to discriminate against Plaintiff and others

with disabilities unless and until Defendant is compelled to remove all

physical barriers that exist at the Facility and Property, including those specifically


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set forth herein, and make the Facility and Property accessible to and usable by

Plaintiff and other persons with disabilities.

      30.     A specific list of unlawful physical barriers, dangerous conditions and

ADA violations which Plaintiff experienced and/or observed that precluded and/or

limited Plaintiff’s access to the Facility and Property and the full and equal

enjoyment of the goods, services, facilities, privileges, advantages and

accommodations of the Facility and Property include, but are not limited to:

      (a)     EXTERIOR ELEMENTS:

      (i)     All four accessible parking spaces on the Property have signage

              that are not affixed at a permissible height, in violation of

              section 502.6 of the 2010 ADAAG standards.

      (ii)    All four accessible parking spaces on the Property have slopes

              and cross-slopes in excess of 1:48 (one to forty-eight), in

              violation of section 502.4 of the 2010 ADAAG standards.

      (iii)   Three of the four accessible parking spaces on the Property do

              not have properly marked access aisles adjacent to them, in

              violation of section 502.3 of the 2010 ADAAG standards.

      (iv)    The Property has an accessible parking space with signage that

              states that the space is van accessible, but it is not a van


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       accessible space. Thus, the Property lacks a van accessible

       disabled parking space, in violation of section 208.2.4 of the

       2010 ADAAG standards.

(v)    The one access aisle that is adjacent to the accessible parking

       space on the Property most proximate to the entrance of the

       Facility is not level due to the presence of a ramp within the

       boundaries of said access aisle, in violation of section 502.4 of

       the 2010 ADAAG standards.

(vi)   There is broken pavement and excessive vertical rises at the

       base of the accessible ramp leading from the parking lot of the

       Property to the accessible entrance of the Facility, in violation

       of section 303.2 of the 2010 ADAAG standards.

(vii) The above-described accessible ramp has a total vertical rise in

       excess of 6” (six inches) but does not have handrails on both

       sides of the ramp, in violation of section 505.2 of the 2010

       ADAAG standards.

(viii) The handrails of the above-described accessible ramp on the

       Property do not properly extend beyond the ramp run, in

       violation of section 505.10 of the 2010 ADAAG standards.


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(b)     INTERIOR ELEMENTS:

(i)     The Facility lacks restrooms signage in compliance with

        sections 216.8 and 703 of the 2010 ADAAG standards.

(ii)    The door to the restrooms has a minimum clear width below 32

        (thirty-two) inches, in violation of section 404.2.3 of the 2010

        ADAAG standards.

(iii)   The door of the restroom entrance of the Facility lacks a proper

        minimum maneuvering clearance, in violation of section

        404.2.4 of the 2010 ADAAG standards.

(iv)    There is inadequate clear turning space in the accessible toilet

        stalls in the restrooms of the Facility, in violation of section

        603.2.1 of the 2010 ADAAG standards.

(v)     The door hardware of the bathroom stalls have operable parts

        which require tight grasping, pinching or twisting of the wrist,

        in violation of section 309.4 of the 2010 ADAAG standards.

(vi)    The accessible toilet stall doors in the restrooms of the Facility

        are not self-closing and/or otherwise violate section 604.8.2.2

        of the 2010 ADAAG standards.

(vii) The accessible toilet stall doors in the restrooms of the Facility


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             are too narrow and/or otherwise violate section 604.8.1.2 of the

             2010 ADAAG standards.

      (viii) The grab bars/handrails adjacent to the commodes in the

             accessible stalls in the restrooms of the Facility are missing, in

             violation of section 604.5 of the 2010 ADAAG standards.

      (ix)   The restrooms in the Facility have a vanity with inadequate

             knee and toe clearance, in violation of section 306 of the 2010

             ADAAG standards.

      (x)    The soap dispensers in the restrooms of the Facility are located

             outside the prescribed vertical reach ranges set forth in section

             308.2.1 of the 2010 ADAAG standards.

      (xi)   The paper towel dispensers in the restroom of the Facility are

             located outside the prescribed vertical reach ranges set forth in

             section 308.2.1 of the 2010 ADAAG standards.

      (xii) The height of coat hooks located in the accessible restroom

             stalls are above 48” from the finished floor, in violation of

             section 308.2.1 of the 2010 ADAAG standards.

      31.    Without limitation, the above-described violations of the ADAAG

made it more difficult and dangerous for Plaintiff to exit and re-enter her vehicle


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while on the Property, and rendered the restrooms in the Facility inaccessible to

Plaintiff.

       32.   The violations enumerated above may not be a complete list of the

barriers, conditions or violations encountered by Plaintiff and/or which exist at the

Facility and Property.

       33.   Plaintiff requires an inspection of Facility and Property in order to

determine all of the discriminatory conditions present at the Facility and Property

in violation of the ADA.

       34.   The removal of the physical barriers, dangerous conditions and ADA

violations alleged herein is readily achievable and can be accomplished and carried

out without significant difficulty or expense. 42 U.S.C. § 12182(b)(2)(A)(iv); 42

U.S.C. § 12181(9); 28 C.F.R. § 36.304.

       35.   All of the violations alleged herein are readily achievable to modify

to bring the Facility and Property into compliance with the ADA.

       36.   Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily

achievable because the nature and cost of the modifications are relatively low.

       37.   Upon information and good faith belief, the removal of the physical

barriers and dangerous conditions present at the Facility and Property is readily


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achievable because Defendant has the financial resources to make the necessary

modifications.

      38.    Upon information and good faith belief, the Facility and Property

have been extensively modified since March 15, 2012.

      39.    In instances where the 2010 ADAAG standards do not apply, the 1991

ADAAG standards apply, and all of the alleged violations set forth herein can be

modified to comply with the 1991 ADAAG standards.

      40.    Plaintiff is without adequate remedy at law, is suffering irreparable

harm, and reasonably anticipates that she will continue to suffer irreparable harm

unless and until Defendant is required to remove the physical barriers, dangerous

conditions and ADA violations that exist at the Facility and Property, including

those alleged herein.

      41.    Plaintiff’s requested relief serves the public interest.

      42.    The benefit to Plaintiff and the public of the relief outweighs any

resulting detriment to Defendant.

      43.    Plaintiff’s counsel is entitled to recover its reasonable attorney’s fees

and costs of litigation from Defendant pursuant to 42 U.S.C. §§ 12188 and 12205.

      44.    Pursuant to 42 U.S.C. § 12188(a), this Court is provided authority to

grant injunctive relief to Plaintiff, including the issuance of an Order directing


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Defendant to modify the Facility and Property to the extent required by the ADA.

      WHEREFORE, Plaintiff prays as follows:

      (a)   That the Court find Defendant in violation of the ADA and ADAAG;

      (b)   That the Court issue a permanent injunction enjoining Defendant from

            continuing its discriminatory practices;

      (c)   That the Court issue an Order requiring Defendant to (i) remove the

            physical barriers to access and (ii) alter the subject Facility and

            Property to make them readily accessible to, and useable by,

            individuals with disabilities to the extent required by the ADA;

      (d)   That the Court award Plaintiff’s counsel reasonable attorneys' fees,

            litigation expenses and costs; and

      (e)   That the Court grant such further relief as deemed just and equitable

            in light of the circumstances.

                                      Dated: April 1, 2022.

                                      Respectfully submitted,

                                      /s/Craig J. Ehrlich
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        CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 5.1

      The undersigned hereby certifies that the foregoing document has been

prepared in accordance with the font type and margin requirements of Local Rule

5.1 of the Northern District of Georgia, using a font type of Times New Roman

and a point size of 14.

                                    /s/Craig J. Ehrlich
                                    Craig J. Ehrlich




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